 Case:5:18-cv-01375-DSF-JPR
Case    2:18-md-02846-EAS-KAJDocument
                              Doc #: 2 Filed: 08/14/18
                                        16 Filed       Page:Page
                                                  08/16/18   1 of 51 PAGEID  #: ID
                                                                     of 5 Page  7
                                 #:<pageID>



                              UNITED STATES JUDICIAL PANEL
                                           on                                       8/14/2018
                               MULTIDISTRICT LITIGATION
                                                                                          DD




IN RE: DAVOL, INC./C.R. BARD, INC.,
POLYPROPYLENE HERNIA MESH PRODUCTS
LIABILITY LITIGATION                                                                MDL No. 2846
                                                                             5:18-cv-01375-DSF-JPR
                                                                   William Kamp v. Davol Inc et al
                                  (SEE ATTACHED SCHEDULE)



                        CONDITIONAL TRANSFER ORDER (CTO í1)



On August 2, 2018, the Panel transferred 50 civil action(s) to the United States District Court for the
Southern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 1407. See _F.Supp.3d_ (J.P.M.L. 2018). Since that time, no additional action(s) have been
transferred to the Southern District of Ohio. With the consent of that court, all such actions have
been assigned to the Honorable Edmund A. Sargus, Jr.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Southern District of Ohio and assigned to Judge
Sargus.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Southern District of Ohio for the reasons stated in the order of August 2, 2018, and, with the consent
of that court, assigned to the Honorable Edmund A. Sargus, Jr.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Southern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:
                             Aug 14, 2018



                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
   8/14/2018




   8/14/2018
 Case:5:18-cv-01375-DSF-JPR
Case    2:18-md-02846-EAS-KAJDocument
                              Doc #: 2 Filed: 08/14/18
                                        16 Filed       Page:Page
                                                  08/16/18  2 of 52 PAGEID #: 8
                                                                    of 5 Page ID
                                 #:<pageID>




IN RE: DAVOL, INC./C.R. BARD, INC.,
POLYPROPYLENE HERNIA MESH PRODUCTS
LIABILITY LITIGATION                                                                  MDL No. 2846



                    SCHEDULE CTOí1 í TAGíALONG ACTIONS



   DIST      DIV.      C.A.NO.        CASE CAPTION


ALABAMA MIDDLE

                                      Swain et al v. C.R. Bard Inc. Corporation (JOINT
   ALM         2       18í00470       ASSIGN)(MAG+)

ARIZONA

    AZ         2       18í01280       Luks v. Davol Incorporated et al        Opposed 8/9/18

ARKANSAS EASTERN

   ARE         4       17í00143       Ratliff v. Davol Inc et al

CALIFORNIA CENTRAL

   CAC         2       18í05069       Christelle Angelastro v. Davol, Inc. et al
   CAC         2       18í05909       Herayer Maroti v. Davol Inc. et al
   CAC         5       18í01375       William Kamp v. Davol Inc et al

FLORIDA MIDDLE

   FLM         2       18í00512       Molloy v. Davol Inc. et al
   FLM         3       18í00548       Israel et al v. C.R. Bard, Inc. et al
   FLM         3       18í00815       Weeks v. Davol, Inc.
   FLM         6       18í00745       Vilardebo v. Davol, Inc. et al
   FLM         8       17í01613       Hamblen et al v. Davol, Inc. et al

FLORIDA SOUTHERN

   FLS         2       16í14455       Ripple v. C.R. Bard, Inc. et al
   FLS         2       18í14023       Hill, Jr. v. C.R. Bard, Inc.
   FLS         2       18í14176       Bailey v. Davol Inc. et al
   FLS         9       18í80546       Ketchens et al v. Davol, Inc. et al

GEORGIA NORTHERN
 Case:5:18-cv-01375-DSF-JPR
Case    2:18-md-02846-EAS-KAJDocument
                              Doc #: 2 Filed: 08/14/18
                                        16 Filed         Page:Page
                                                    08/16/18     3 of 53 PAGEID #: 9
                                                                         of 5 Page ID
                                 #:<pageID>
   GAN          1      18í00244      Taylor et al v. C.R. Bard, Inc.

 ILLINOIS NORTHERN

    ILN         1       18í04287        Prueter v. Davol, Inc. et al

 INDIANA SOUTHERN

    INS         1       18í01938        ELLARD v. DAVOL, INC. et al

 MARYLAND

    MD          1       18í01236        Wootton v. Davol, Inc. et al

 MISSISSIPPI NORTHERN

   MSN          4       18í00135        Davis v. Davol Inc. et al

 MISSOURI EASTERN

   MOE          1       18í00121        Cooper v. Davol, Inc. et al

 MISSOURI WESTERN

   MOW          2       18í04108        Sterrett v. Davol, Inc. et al
   MOW          4       18í00464        Murphy et al v. C.R. Bard, Inc. et al
   MOW          4       18í00550        Campos v. C.R. Bard, Inc. et al
   MOW          6       18í03193        Robinson v. Davol Inc et al

 NEW JERSEY

    NJ          2       17í07101        NUNEZ v. C.R. BARD INC. et al
    NJ          2       18í03925        NUNEZ et al v. CR BARD, INC. et al
    NJ          2       18í09040        ROSS v. C.R. BARD, INC et al
    NJ          2       18í09045        BLACK v. C.R. BARD et al
    NJ          2       18í10302        RICH v. BARD et al
    NJ          2       18í11192        ALEXANDER v. C.R. BARD et al
    NJ          2       18í11806        BRANCH v. BARD DAVOL INC. et al

 NEW MEXICO

    NM          2       16í00136        Mims v. Davol, Inc., et al.    Opposed 8/7/18


 NEW YORK EASTERN

   NYE          1       17í04406        Gelfarb v. Johnson & Johnson et al
   NYE          1       17í06410        Barnes v. C. R. Bard, Inc.
   NYE          1       18í01032        Sniad v. C.R. Bard, Inc.
   NYE          1       18í02920        Menjivar v. C.R. Bard, Inc. et al.
   NYE          2       18í02212        Grappone et al v. Davol Inc.
   NYE          2       18í03874        Demos et al v. Davol, Inc. et al
Case:5:18-cv-01375-DSF-JPR
Case  2:18-md-02846-EAS-KAJ Document
                            Doc #: 2 Filed: 08/14/18
                                      16 Filed       Page: Page
                                                 08/16/18  4 of 5 4PAGEID  #: 10
                                                                    of 5 Page  ID
                                #:<pageID>
 NEW YORK SOUTHERN

   NYS         1       18í00648       Frye v. C.R. Bard, Inc.
   NYS         1       18í01134       Brown v. C.R. Bard, Inc.
   NYS         1       18í01526       Evleth v. C.R. Bard, Inc,
   NYS         1       18í01531       Kellogg et al v. C. R. Bard, Inc.
   NYS         1       18í01536       Bloem v. C.R. Bard Inc.
   NYS         1       18í02308       Campbell v. C. R. Bard, Inc.
   NYS         1       18í02311       Alexander v. C. R. Bard, Inc.
   NYS         1       18í02317       Miller v. C. R. Bard, Inc.
   NYS         1       18í02320       Christman et al v. C. R. Bard, Inc.
   NYS         1       18í03258       Greene v. C.R. Bard, Inc,
   NYS         1       18í06564       De Cicco et al v. C. R. Bard, Inc.

 NEW YORK WESTERN

   NYW         1       18í00533       Kostek v. Davol Inc. et al

 OHIO NORTHERN

   OHN         1       18í00961       Dean v. Davol, Inc. et al
   OHN         4       18í00440       Clark v. C.R. Bard, Inc.
   OHN         4       18í01663       Prater v. Davol, Inc. et al

 OREGON

    OR         3       18í00645       Lammi v. Davol, Inc. et al

 PENNSYLVANIA EASTERN

   PAE         2       18í01857       HILL v. DAVOL INC. et al

 RHODE ISLAND

    RI         1       18í00337       Ciotti v. DAVOL, Inc. et al

 SOUTH CAROLINA

    SC         4       18í01058       Strickland v. Davol, Inc. et al
    SC         8       17í01033       Harrison et al v. Davol Inc et al

 TENNESSEE MIDDLE

   TNM         3       17í01419       McClain v. C.R. Bard, Inc.
   TNM         3       18í00591       Jones v. C. R. Bard, Inc. et al

 TEXAS SOUTHERN

   TXS         3       17í00089       Armstrong et al v. C. R. Bard Inc. et al
   TXS         4       17í00756       Ochoa v. Bard et al

 TEXAS WESTERN
Case:5:18-cv-01375-DSF-JPR
Case  2:18-md-02846-EAS-KAJ Document
                            Doc #: 2 Filed: 08/14/18
                                      16 Filed       Page: Page
                                                 08/16/18  5 of 5 5PAGEID  #: 11
                                                                    of 5 Page  ID
                                #:<pageID>

   TXW         1       17í01128       Christoff v. C. R. Bard, Inc.
